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     JAGDEEP BIDWAL
11

12
                                   UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
     JAGDEEP S. BIDWAL,
15                                               )
                                                 )   Case No: 3:17-CV-2699-LB
                    Plaintiff,
16                                               )
                                                 )   DECLARATION OF JOHN D.
17          vs.                                  )   O’CONNOR IN SUPPORT OF
                                                 )   PLAINTIFF JAGDEEP S. BIDWAL’S
18   UNIFUND CCR PARTNERS, UNIFUND               )   MOTION FOR AN AWARD OF
     PORTFOLIO A, LLC, QUALL CARDOT              )   ATTORNEYS FEES AND COSTS
19   LLP, MATTHEW W. QUALL, LANG,                )
     RICHERT & PATCH, A PROFESSIONAL             )
20                                               )
     CORPORATION, ELECTRONIC                     )
21   DOCUMENT PROCESSING, INC., and              )
     JULIO ASCORRA,                              )
22                                               )
                                                 )
23                  Defendants.                  )
                                                 )
24                                               )
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25                                               )
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26                                               )
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28

                                    DECLARATION OF JOHN D. O’CONNOR
 1                              DECLARATION OF JOHN D. O’CONNOR

 2          I, John D. O’Connor, declare as follows:

 3          1.      I am an attorney licensed to practice law in all courts in the State of California, and

 4   have been so licensed since December 1972. I am currently the principal of O’Connor and

 5   Associates, a law firm consisting of myself and two associates that specializes in commercial and

 6   tort litigation. I have forty-seven years of significant trial experience, including over seventy jury

 7   trials and numerous arbitrations. In addition to my litigation practice, I have been retained as an

 8   attorneys’ fee expert on approximately one hundred and fifty occasions and have served as a

 9   consulting expert on many more occasions.

10                     BACKGROUND, QUALIFICATIONS AND EXPERIENCE

11          2.      The following is a brief summary of my background and qualifications.

12          3.      I attended The University of Notre Dame in South Bend, Indiana, where I graduated

13   magna cum laude in 1968. In 1972, I graduated cum laude from the University of Michigan Law

14   School, where I was a member of the Order of the Coif and Associate Editor of the Michigan Law

15   Review. I was admitted to the California bar in 1972. A copy of my Curriculum Vitae is attached

16   hereto as Exhibit A.

17          4.      After being admitted to the California bar, I held successive positions where my

18   practice focused on trial litigation. In 1972 and 1973, I was an associate with the trial firm of Belli,

19   Ashe and Choulos, where I assisted Mr. Melvin Belli in the trial of several large cases and tried
20   three cases on my own.

21          5.      From January 1974 through December 1979, I was an Assistant United States

22   Attorney for the Northern District of California in San Francisco. In that capacity, I tried white-

23   collar criminal cases as well as a variety of civil matters. Much of my civil work with the U.S.

24   Attorney’s office involved litigation alleging violations of statutes and regulations designed to

25   protect the consumer, such as those enforced in response to the energy crisis of 1974-78, including

26   gasoline pricing rules and regulations.

27          6.      While I worked in the United States Attorneys’ Office, I was assigned both criminal

28   and civil cases. Accordingly, I gained significant experience in governmental and administrative
                                                        1
                                     DECLARATION OF JOHN D. O’CONNOR
 1   law litigation, including a number of civil rights cases. For instance, I represented the government

 2   in the class action brought against the Naval Air Rework Facility in Alameda, California alleging

 3   discrimination in hiring and promotion of women and minorities, which was significantly

 4   protracted and complex litigation involving significant attorneys’ fee issues. See Saunders v.

 5   Clayton, 629 F.2d 596 (9th Cir. 1980), and Saunders v. Naval Air Rework Facility (N.A.R.F.), 1981

 6   U.S. Dist. LEXIS 17852 (N.D. Cal. Sept 4, 1981), where I worked on the underlying fee disputes

 7   on behalf of the U.S. government. The Saunders v. Clayton case, which I litigated at the District

 8   Court level, established significant case law denying fees on unsuccessful claims in an otherwise

 9   successful case.

10          7.      In 1980 and 1981, I was a senior associate at the prominent San Francisco firm of

11   Brobeck, Phleger and Harrison, where I represented, among other firm clients, Wells Fargo Bank.

12          8.      From 1982 through 2001, I was a principal and managing partner of the law firm of

13   Tarkington, O’Connor & O’Neill, where our clients were mainly insurance companies, corporate

14   risk management departments, numerous local governmental entities, and federal entities such as

15   the FDIC, FSLIC, RTC, NCUA, and the United States government. On behalf of financial

16   institutions, and the government as Receiver or Conservator of financial institutions, I frequently

17   defended various forms of “lender liability” suits.

18          9.      From 2001 through 2006, I was Special Counsel and a Director (equivalent in a

19   legal corporation to a partner) for the Howard Rice firm, now merged with Arnold and Porter. At
20   Howard Rice I pursued a high-stakes litigation practice, including defense of R. J. Reynolds

21   Tobacco Company, intellectual property disputes, and financial/professional services litigation.

22          10.     In late 2006, I formed O’Connor and Associates, a litigation boutique firm engaging

23   in both business and tort litigation, as well as expert work in attorney fee analysis.

24          11.     In 1982, I began managing the Tarkington office and as our firm quickly grew to

25   over eighty lawyers, I regularly kept abreast of billing standards in the community, and regularly

26   subscribed to specialized publications geared to law firm management, such as the Altman and

27   Weil annual reports and the monthly published Partners’ Report. I also regularly reviewed more

28   widely published legal periodicals.
                                                        2
                                     DECLARATION OF JOHN D. O’CONNOR
 1          12.     As written billing guidelines became in vogue for institutional clients in the mid-

 2   eighties, I participated heavily in working with our institutional clients in government, insurance,

 3   finance, and other large businesses to establish and implement practical billing standards. I

 4   regularly consulted with these clients about their perception of the positive and negative in our

 5   billings, and where appropriate, remedied the same.

 6          13.     I have kept abreast of the billing rates in the Bay Area, California, and generally

 7   throughout the country since 1982. Because we represented clientele in different business and

 8   governmental sectors, it was important to me to be conversant about rates throughout the litigation

 9   field ranging from premium to lower, more commoditized rates.

10          14.     Because our practice at the Tarkington firm often involved coverage, legal

11   malpractice, and reinsurance and excess monitoring work, we reviewed the billings of a wide

12   variety of firms in our regular practice, including premium-rate billings, lower, highly negotiated

13   insurance defense charges, and standard business litigation billings with rates falling between these

14   two groups.

15          15.     In 1983 and 1984, I litigated a large fee case while with the Tarkington firm against

16   the Heller Ehrman firm, on behalf of Sonoma County, in a class action prison case involving the

17   constitutionality of various conditions of confinement in the Sonoma County jail.

18          16.     Although I have been involved in a significant amount of legal fee review,

19   negotiation, and litigation since 1977, my involvement in legal fee dispute work increased
20   significantly in 1989. In that year, I was the Tarkington partner in charge of our work with failed

21   and failing financial institutions on behalf of the FDIC, FSLIC, RTC, and NCUA. At that time, we

22   had performed extensive work in connection with the failed Golden Valley Bank, Turlock,

23   California, then in Receivership under the aegis of the FDIC. The insurance carrier for the bank

24   insisted that we advise the government to release the insurance carrier from its defense obligations

25   with a nominal payment. After our refusal, the insurance company subjected the Receiver and our

26   firm to numerous audits in an unsuccessful attempt to force the government to release the carrier

27   from its obligations. At this point I necessarily became immersed in the various billing standards

28   prevalent in the community.
                                                       3
                                    DECLARATION OF JOHN D. O’CONNOR
 1           17.     During these years of legal fee disputes, I spent the majority of my time dealing with

 2   the developing field of legal “auditing” and related litigation. As a result, I gained a wide

 3   knowledge of auditing practices, prevailing billing standards, and approaches employed by legal

 4   fee experts, auditors, and litigators.

 5           18.     Due to my growing expertise in the legal fee and auditing issues, during the years

 6   1991 through 2001, I consulted with numerous law firms throughout the country who were seeking

 7   my advice on audit criticisms leveled against their practices, almost invariably involved in large fee

 8   disputes. I also consulted on numerous occasions with fee payors in fee disputes. I continue this

 9   work as a subspecialty of my litigation practice through the present time. I am a member of, and

10   lecture at continuing education seminars sponsored by, the National Association of Legal Fee

11   Analysis (“NALFA”), a society dedicated to both continuing education and development of legal

12   fee billing standards.

13           19.     From late 2001 through July 2006, as noted above, I was employed with the San

14   Francisco firm of Howard Rice as a Special Counsel and Director, practicing within the litigation

15   department. While at Howard Rice, I was selected as a JAMS arbitrator on a three-arbitrator panel,

16   for an asbestos fee dispute involving over $2 million in claimed fees.

17           20.     At Howard Rice, we kept informed about both premium rates in the area for

18   “AmLaw 500” firms and rates charged by the wider sector of smaller market-driven business firms,

19   so that we could in turn appropriately set ours on an annual basis. Because we did work throughout
20   California, our surveys involved both Northern California and Southern California, as well as

21   national firm rates. It has been my experience that the rate structure of the San Francisco Bay Area

22   is virtually identical to that in the greater Los Angeles area. My present fee work involves both

23   Northern and Southern California cases, as well as other cases throughout the country.

24           21.     Since July 2006, I have practiced on my own with several associates under the name

25   of O’Connor and Associates. My practice continues to focus on complex business litigation,

26   including real estate, construction, and contract/fraud, and including an active trial practice, with

27   consistent work as well as a litigation fee expert. I have been employed as a fee expert on over one

28   hundred and fifty occasions.
                                                        4
                                      DECLARATION OF JOHN D. O’CONNOR
 1             22.    As an expert witness and consultant, I have reviewed the billings of lawyers

 2   preparing for and/or trying large, complex financial sector cases, including Court cases. For

 3   instance, Duran v. U.S. Bank, Alameda Superior Court, Case No. 2001-035537, tried before Judge

 4   Freedman in Alameda County, was an eighty-plaintiff class action case, the first class action wage

 5   and hour case ever tried in California. In that case, Judge Freedman accepted my opinion as to

 6   applicable hourly rates, noting in his opinion that he relied on the undersigned for guidance in this

 7   regard:

 8             The Court finds that Plaintiffs have presented extensive evidence that the hourly
 9             rates their attorneys have requested are within the range of rates charged by and
               awarded to attorneys of comparable experience, reputation, and ability for
10             comparably complex litigation. CHMC, 97 Cal.App.4th 740, 783. That evidence
               includes: ... (5) persuasive expert testimony presented by Mr. John D. O'Connor...
11             Based on the evidence before the Court including declarations submitted in support
               of Plaintiffs' Motion… In marked contrast to the Court's findings with respect to Mr.
12
               Schratz, the Court finds Mr. O' Connor's declaration to be considerably more
13             persuasive in assessing the relevant issues before this Court. The Court finds Mr.
               O'Connor's opinions related to the lodestar analysis to be useful, insightful and well-
14             reasoned.

15   (Duran, supra, Alameda Superior Court, Case No. 2001-035537, Court’s Order dated December

16   12, 2010, p. 30.)

17             23.    I have significant experience in financial institution litigation. While at the Brobeck

18   firm, I represented Wells Fargo Bank in several cases. While with the Tarkington firm, I

19   represented numerous failed and/or failing banks, savings and loans and credit unions, taking over

20   their litigation portfolios as well as instituting new litigation against borrowers, insurers, and

21   professionals as necessary. While at the Howard Rice firm, I worked on several cases involving

22   financial institution issues.

23             24.    I previously served as an expert consultant in Pena v. Huntington Beach Nissan, Los

24   Angeles Superior court, Case No. BC 651671, and Tan v. Wheels Financial Group, et al.,

25   Alternative Resolution Centers, LLC, ARC Case No. 78M4930, where I was able to review the

26   work of Mr. Trueblood extensively at the conclusion of extensive arbitration proceedings.

27             25.    I have served as an expert witness in numerous cases involving financial or credit

28   issues.
                                                          5
                                       DECLARATION OF JOHN D. O’CONNOR
 1            26.    I believe that my litigation experience is helpful in determining the reasonableness

 2   of fees for staffing, pretrial preparation, and trial of cases litigated both in Court and in an arbitral

 3   forum.

 4            27.    I also believe my experience litigating with a large, top-tier firm, Howard Rice a

 5   midsize firm, Tarkington, and my present small firm, gives me, as an expert examining fees of all

 6   levels of firms, an insight into the appropriate rates to be sought here.

 7            28.    Accordingly, I believe that I am an expert capable of analyzing the fee petition in

 8   this case.

 9                                        ANALYSIS AND OPINION

10            29.    In this case, Plaintiff’s counsel filed an action for violations of the Fair Debt

11   Collection Practices Act and the Rosenthal Fair Debt Collection Practices Act against a debt

12   collection agency (Unifund), its collection lawyers (Quall Cardot and Lang Richert & Patch), and

13   their process server (EDP) who furtively obtained a collection default judgment in Los Angeles by

14   filing false affidavits of service with the court, despite their knowledge that Plaintiff was not

15   actually served. I need not recite the facts of this case, with which the Court is familiar.

16            30.    Even though the facts giving rise to the instant litigation occurred in Los Angeles,

17   the applicably locality for determining reasonable rates is San Francisco. I note that the rate

18   structure of the San Francisco Bay Area is virtually identical to, if not slightly higher than, the rate

19   structure in the greater Los Angeles area. Therefore, any discussion of Los Angeles rates below is
20   also applicable for determining the reasonable rates in the greater San Francisco Bay Area.

21            31.    I have reviewed the invoices of the Trueblood Law Firm, the Consumer Law Office

22   of Robert Stempler, and the Law Offices of Brandon A. Block for this case and believe that both

23   the requested rates and the hours billed are reasonable. Because of the skill and efficiency of Mr.

24   Trueblood, Mr. Stempler, and Mr. Block, I also opine that some multiplier is appropriate.

25                               Mr. Trueblood’s Requested Hourly Rate is Reasonable

26            32.    The first issue I will discuss is the reasonableness of Mr. Trueblood’s rate of $725

27   per hour, which I opine is a median rate in the applicable cohort of law firms.

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                                                          6
                                      DECLARATION OF JOHN D. O’CONNOR
 1          33.     As I understand and customarily address the issue, petitioning lawyers should be

 2   paid commensurate with the market for other lawyers of similar skill, experience, and reputation.

 3          34.     Obviously, when a small plaintiffs’ firm’s billings are at issue, my goal is to slot its

 4   rates into the appropriate level as charged by firms with set rate structures, and applying this

 5   standard sometimes can be difficult, in that it may be unclear which set of prevailing rates is best

 6   applied to the particular petitioning counsel. However, in my opinion, that analysis is not difficult

 7   here. Mr. Trueblood deserves rates squarely in the middle range of the “AmLaw 500” firms

 8   practicing in large metropolitan areas such as Los Angeles and San Francisco. AmLaw 500 firms

 9   are the largest 500 firms in the country, the rates for which are generally well known.

10          35.     In the Los Angeles area, the cohort of firms charging these AmLaw 500 rates would

11   be Irell & Manella, Loeb & Loeb, O’Melveny, Gibson Dunn, Jones Day, and Orrick, to name a

12   few. The rates charged by these larger firms, most of them with a national reach, are generally

13   similar to those charged by the very fine small and mid-sized firms in the Los Angeles area, such as

14   the Trueblood Law Firm.

15          36.     To be sure, within these firms are a number of lawyers who charge “super premium”

16   rates from $900 to $1,500 per hour, for certain high-value “niche” services, which rates are

17   correctly set out in the moving papers. These “niche” rates are sometimes charged by litigators

18   who are perceived to be of exceptional quality. I do not believe that these “super premium” rates

19   apply here, because there are few factors that would argue for the services of petitioning Counsel to
20   charge them. Indeed, most lawyers within AmLaw 500 firms do not charge “super premium” rates.

21          37.     However, that said, the rates sought by petitioning Counsel are not “super premium”

22   rates, but, rather, are rates one would expect when hiring any of the reputable business litigation

23   firms in Los Angeles or San Francisco. The rate sought by Mr. Trueblood at $725 is squarely on

24   the mark. When comparing the services of Mr. Trueblood to those having similar skill, experience

25   and reputation, there are several reasons that his services deserve these standard, big-firm rates.

26          38.     Returning to Mr. Trueblood’s requested rate of $725 per hour, it is, in my opinion,

27   consistent with previous fee awards. Attached as Exhibit B is a fee award in the case Godfrey, et

28   al. v. Hyundai Motor Finance Company, et al., Los Angeles Superior Court, Case No. BC373078,
                                                        7
                                     DECLARATION OF JOHN D. O’CONNOR
 1   in which the Honorable Maureen Duffy-Lewis awarded Mr. Trueblood a rate of $495 in January

 2   2009. With ten years of legal fee increases since then, this award of $495 per hour is equivalent to

 3   an award of $700-$750 today. (See Exhibit B.)

 4          39.     In January 2017, Judge Harvey A. Schneider (Ret.) in Tan v. Wheels Financial

 5   Group, Inc., supra, awarded Mr. Trueblood $675 per hour two years ago, which would translate

 6   into an award of approximately $725-$750 today, since a rate increase of $50-$75 per hour would

 7   be expected over these past two years, in which the legal market has been highly active, with little

 8   downward rate pressure. Attached as Exhibit C is the award by Judge Harvey A. Schneider (Ret.)

 9   in Tan v. Wheels Financial Group, Inc.

10          40.     Lastly, I note that reasonableness of Mr. Trueblood’s hourly rate is further supported

11   by McGuireWoods, LLP’s reasonable rates cited by Mr. McDonald in VW Credit, Inc. v. Jillian

12   Speer, Los Angeles Superior Court, Case No. SC128784, a debt collection case. Attached as

13   Exhibit D is the Declaration of Chris M. McDonald in Support of Cross-Defendant VW Credit,

14   Inc.’s Opposition to Defendant/Cross-Complainant Jillian Speer’s Motion to Compel (“McDonald

15   Declaration”). In the McDonald Declaration, Mr. McDonald declares that the reasonable rates of

16   certain San Francisco attorneys at McGuireWoods LLP based on the current market rates and

17   nature and experience as of August 2018 are as follows: Carolee A. Hoover (partner, 13 years’

18   experience): $690/hour; and Alexander J. Gershen (associate, 5 years’ experience): $475/hr. See

19   Exhibit D at 4:4-9.
20          41.     I note that Mr. Trueblood, an attorney with approximately 28 years’ experience, has

21   over two times the experience of Ms. Hoover and over five times the experience of Mr. Gershen,

22   yet Mr. Trueblood only bills his time at $35 per hour more and $250 per hour more, respectively.

23          42.     Because of the skill and efficiency displayed by Mr. Trueblood in resolving this

24   matter so effectively, together with the contingent risk taken on, in a case where the defendants had

25   adamantly refused rescission earlier, I believe some multiplier is warranted, as discussed below.

26                          Mr. Stempler’s Requested Hourly Rate is Reasonable

27          43.     Turning to Mr. Stempler’s hourly rate, I opine that a reasonable hourly rate is $600.

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                                                       8
                                    DECLARATION OF JOHN D. O’CONNOR
 1           44.     Mr. Stempler has specialized in consumer-rights litigation for over twenty years

 2   with a focus in litigating in federal courts.

 3           45.     In Miller v Midland Funding, LLC, et al., Case No. CV 07-4869-ODW (AGRx)

 4   (C.D. Cal. 2007), Mr. Stempler was awarded an hourly rate of $350 in April 2008. Attached as

 5   Exhibit E is the fee award in Miller v Midland Funding, LLC, et al. Notably, the Honorable Otis

 6   D. Wright II stated in his Order that other judges, including other Central District Court Judges,

 7   have also approved Mr. Stempler’s hourly rate.

 8           46.     Likewise, in Hernandez v. Erin Capital Management, LLC, et al., Case No. SACV

 9   10-1695 AG (RNBx) (C.D. Cal. 2010), Mr. Stempler requested an hourly rate of $350, which was

10   uncontested by opposing counsel and awarded by the court in October 2011. Attached as Exhibit F

11   is the fee award in Hernandez v. Erin Capital Management, LLC, et al.

12           47.     With 8 to 11 years of legal fee increases since the Miller and Hernandez awards,

13   Mr. Stempler’s prior award of $350 per hour is equivalent to an award of $600 today.

14           48.     The reasonableness of Mr. Stempler’s requested hourly rate is further supported

15   when compared to Ms. Hoover’s $690 and Mr. Gershen’s $475 hourly rates identified in the

16   McDonald Declaration. See Exhibit D. Mr. Stempler has over two times the experience of Ms.

17   Hoover and over five times the experience, yet Mr. Stempler requests $90 per hour less than Ms.

18   Hoover and only $125 per hour more than Mr. Gershen.

19           49.     I further note that the discrepancy between my recommended rates for Mr.
20   Trueblood and Mr. Stempler reflect Mr. Trueblood’s exceptional skills and expertise, as well as

21   Mr. Trueblood’s and Mr. Stempler’s historic billing rates, and are not a reflection of Mr.

22   Stempler’s expertise and skill. For example, in Miller, the Honorable Otis D. Writght II awarded

23   Mr. Stempler his requested hourly rate of $350 and Mr. Trueblood his requested hourly rate of

24   $495. See Exhibit E.

25                             Mr. Block’s Requested Hourly Rate is Reasonable

26           50.     Turning to Mr. Block’s hourly rate, I opine that his requested hourly rate of $550 is

27   reasonable. Mr. Block briefly joined Plaintiff’s counsel toward the end of this litigation around

28   June 2018 to assist with the completion of discovery and preparation for trial. Mr. Block’s addition
                                                       9
                                      DECLARATION OF JOHN D. O’CONNOR
 1   to Plaintiff’s counsel was a direct result of defense counsel’s refusal to negotiate a settlement in

 2   good faith as well as defense counsel’s vigorous defense which picked up in June and July 2018.

 3           51.     Mr. Block has specialized in consumer protection matters for the last twenty years,

 4   opening his own consumer protection practice in 2007.

 5           52.     In January 2017, Judge Harvey A. Schneider (Ret.) in Tan v. Wheels Financial

 6   Group, Inc., supra, awarded Mr. Block $475 per hour. See Exhibit C. Mr. Block’s 2017 rate of

 7   $475 would translate into an award of approximately $550 today, since a rate increase of $50 to

 8   $75 per hour would be expected over these past two years, in which the legal market has been

 9   highly active, with little downward rate pressure.

10                                          Hours Expended Are Reasonable

11           53.     I also opine that the hours spent by Plaintiff’s counsel were reasonable and

12   efficiently spent.

13           54.     In support of my opinion, I note that Plaintiff’s counsel did not flail inefficiently, as

14   have many other lawyers I have observed, or perform unnecessary work in order to increase his

15   fees.

16           55.     Rather, as Plaintiff’s counsel’s invoices reflected, Plaintiff’s counsel immediately

17   moved into settlement in an effort to minimize the amount of attorneys’ fees incurred. In fact,

18   Plaintiff’s counsel made repeated overtures to Defendants to settle from June 2017 through

19   September 2018 which were either ignored outright without any counteroffer or met with bad faith
20   offers that were dead on arrival for refusal to dismiss the state court action. When Plaintiff’s

21   counsel countered these objectionable settlement offers, Defendants again went silent. That the

22   September 2018 settlement agreement reflects virtually the same terms as Plaintiff’s June 2017

23   settlement offer further establishes that the additional hours incurred by Plaintiff’s counsel are the

24   direct result of Defendants’ implacable posture, and resultant litigation activities.

25           56.     However, due to the involvement of multiple parties and entities in Defendants’

26   wrongful conduct and defense counsels’ own brinksmanship, Plaintiff’s counsel was forced to

27   vigorously and diligently pursue Plaintiff’s rights, while defense counsel attempted to dodge the

28   Federal Rules of Civil Procedure. I note, for example, that Plaintiff’s counsel was forced to meet
                                                        10
                                     DECLARATION OF JOHN D. O’CONNOR
 1   and confer with defense counsel regarding several issues, including multiple defendants’ late and

 2   deficient Initial Disclosures, deficient discovery responses, and the failure to serve mediation

 3   briefs.

 4             57.   The total amount billed of approximately $179,932.50 for 273.6 hours of work

 5   certainly reflects an efficient disposition of this case.

 6                               Plaintiff’s Counsel Are Entitled to a Multiplier

 7             58.   Plaintiff’s counsel is entitled to a multiplier for both the Rosenthal Act claim based

 8   on the Ketchum factors, and the FDCPA claim based on the Kerr factors. See Ketchum v. Moses, 24

 9   Cal.4th 1122 (2001); see also Kerr v. Screen Guild Extras, Inc., 526 F.2d 67, 70 (9th Cir. 1975),

10   cert. denied, 425 U.S. 951 (1976). The relevant Ketchum and Kerr factors that support the

11   application of a multiplier are as follows:

12                   a.      Contingent Risk: Plaintiff’s counsel entered into a contingent fee

13                           arrangement with Mr. Bidwal and bore the risk of nonpayment.

14                   b.      Preclusion of Other Employment: Plaintiff’s counsel were precluded from

15                           other employment especially in light of defense counsel’s vigorous defense

16                           of this case.

17                   c.      Exceptional Skill Displayed and Results Obtained – I note that a $17,000

18                           settlement, dismissal of the state court action, and forgiveness of the alleged

19                           credit card debt represents an exceptional result, especially in light of the
20                           small out-of-pocket damages suffered.

21             59.   I opine that a 2.0 multiplier is not only appropriate, but necessary to further the goal

22   of encouraging private counsel to represent consumers who have valid claims of debt collection

23   abuse.

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                                                         11
                                      DECLARATION OF JOHN D. O’CONNOR
 1                                               CONCLUSION

 2            60.    By was of summary, I opine that Plaintiff’s counsel is entitled to the following

 3   award:

 4                                     Recommended Fee Award
 5            Timekeeper         Hours                Rate                   Amount
 6            Mr. Trueblood      129.3                $725                   $93,742.50
 7            Mr. Stempler       136.5                600                    81,900
 8            Mr. Block          7.8                  $550                   $4,290
 9            Total Hours        273.6                Total Lodestar         $179,932.50
10            Multiplier                                                     2.0
11            Total After Multiplier                                         $359,865
12            Expenses                                                       $2,267.48
13            Total Award:                                                   $362,132.48
14

15            I declare under penalty of perjury under the laws of the State of California that the
16   foregoing is true and correct. Executed on January 28, 2018 at San Francisco, California.
17

18

19                                                      John D. O’Connor
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                                                        12
                                       DECLARATION OF JOHN D. O’CONNOR
Exhibit
  A
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                                               john@joclaw.com


                                   CURRICULUM VITAE

Education
University of Michigan Law School, cum laude – Juris Doctorate, 1972
   • Member, Michigan Law Review (1970-1972), Associate Editor (1971-1972)
   • Member, Order of the Coif (1971-72)
   • Winner of three AmJur awards as the most outstanding student in a subject.

University of Notre Dame, magna cum laude – A.B., 1968

Work Experience
      Associate, Belli, Ashe & Choulos – 1972-1973
         • Dealt mainly with assessing and negotiating “splits” with other attorneys of
             contingency fees

      U.S. Attorney’s Office, Civil Division – 1977-1979
          • Dealt with attorneys fees, “fee-shifting” civil rights cases; assessed, negotiated,
              and litigated attorneys fees in both individual cases and class action cases;
              litigated Saunders v. NARF in the 9th Circuit

      Senior Associate, Brobeck Phleger and Harrison – 1980-1981
         • Working for prestigious litigation firm, learned staffing and billing procedures
             and protocols for large commercial cases

      Managing Partner, Tarkington, O’Connor and O’Neill – 1982-2000
        • Managing partner responsible for all firm billings
   •   Supervised billing seminars for newly graduated and recently hired lawyers
       within firm
   •   Kept current both with hourly fees charged in the community and billing
       protocols for various firms and cases throughout the area
   •   Subscribed to various periodicals such as Partners Report and Altman & Weil
       annual reports (Altman & Weil is a nationally known law firm consultant
       organization)
   •   Consulted with insurance executives regarding billing procedures for their
       companies
   •   Consulted with insurance claims executives regarding CUMIS issues including
       billing rates for various types of litigation throughout the Bay Area
   •   Worked with various government agencies, such as FDIC, FLIC, NCUA, and RTC
       regarding appropriate billing protocols, and discussed bills with government
       officials regarding compliance; Dealt with governmental auditors regarding same
   •   Consulted with insurance executives regarding CUMIS issues; was resource for
       those executives negotiating CUMIS fees with independent counsel
   •   Represented numerous entities including governmental entities, in attorneys
       fees litigation (e.g. in the Sonoma County jail class action litigation, litigated the
       fees of Heller Ehrman in a fee-shifting civil rights context)
   •   Defended legal malpractice cases and examined legal malpractice and other
       professional liability cases for clients, including the conservators and receivers of
       failed and failing financial institutions
   •   Interacted with legal counsel and claims executives for governmental and
       insurance clients in review and analysis of firm billings
   •   Dealt with Brandt fee issues both as a plaintiff and defendant in insurance
       coverage cases
   •   From time to time reviewed bills of firms in underlying cases while representing
       insurers, reinsurers and access carriers
   •   Significant work regarding legal fee auditing and litigation regarding legal fees
       and legal fee auditing, detailed below

Director (Partner) and Special Counsel, Howard Rice – 2001-2006
    • Regularly apprised of market rates of competing law firms, as firm annually reset
       its rates
    • Acquired knowledge of total fees charged on various complex cases, both by the
       Howard Rice firm and others



                      O’CONNOR AND ASSOCIATES
             201 Mission Street, Suite 710 - San Francisco, CA 94105
             T: 415-693-9960 / F: 415-692-6537 / www.joclaw.com
           •   Named arbitrator on 3-arbitrator JAMS panel regarding over $2,000,000 of
               asbestos billings; heard and evaluated testimony of competing fee experts and
               auditors

       Principal, O’Connor and Associates – 2006-Present
          • Expert witness and consultant, legal fees and litigation management
          • Member, National Association of Legal Fee

Overview of Services
    John D. O’Connor offers expert consultant services in a variety of attorney fee and litigation
management contexts. He is regularly employed as both an expert and litigator in attorney fee
disputes, confidential consultation. His services often involve an analysis of the skill and
efficiency of attorneys in litigation and litigation management.

Background and Qualifications
    John O’Connor has over 40 years of experience in a wide variety of litigation matters,
ranging from personal injury to civil rights and employment to complex business cases. A
significant part of that experience is the trial of over 70 cases in both state and federal Courts
throughout the country, and the preparation for and settlement of many more.
Additionally, for 20 years, O’Connor functioned as managing partner of a substantial litigation
firm. His law firm experience includes partnerships in small boutique firms, a substantial mid-
sized firm, and larger nationally known firms.
    A significant portion of his work for over 35 years has been the evaluation, litigation and
resolution of attorney fee issues. First as an Assistant United States Attorney, and later
representing county and municipal governments, O’Connor has represented potential fee
payors under “fee shifting” statutes.
    As a private lawyer for federal government agencies during the financial institutions crises
of the 1980’s and 90’s, and as well working with a variety of insurers and self-insurers,
O’Connor has worked to develop with the client, and implement on behalf of his law firm,
sophisticated billing guidelines. O’Connor has worked with many clients in mutually cooperative
fashion to examine firm billings, assure compliance and rectify short comings.
    Since the advent in the late 1980’s of adversarial legal auditing, O’Connor has served
extensively as both an expert and litigator analyzing audit criticisms, applying community
standards, and construing applicable case law. In this context, O’Connor has consulted on
hundreds of adversarial legal fee disputes over three decades. He has as well served as JAMS
mediator, a litigator representing both law firms and fee payors on fee issues, and an expert
witness both through written Declaration and oral testimony.



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Exhibit
  B
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  C
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  D
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  E
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 8
 9   Co-Counsel for Plaintiff KIRK MILLER
10                             UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12   KIRK MILLER,                       )    Case Number CV 07-4869-ODW (AGRx)
                                        )
13                Plaintiff,            )    JUDGMENT AND ORDER GRANTING
                                        )    MOTION BY PLAINTIFF FOR AWARD
14         vs.                          )    OF ATTORNEY’S FEES, FOLLOWING
                                        )    ACCEPTANCE OF RULE 68 OFFER BY
15   MIDLAND FUNDING LLC;               )    ESKANOS & ADLER, A PROFESSIONAL
     et al.;                            )    CORPORATION
16                                      )
                  Defendants.           )    Judicial Ofcr: Hon. Otis D. Wright II
17                                      )
                                        )
18                                      )
                                        )
19                                      )
                                        )
20                                      )
                                        )
21
22         Before the Court is Plaintiff’s motion for an award of attorney’s fees,
23   pursuant to Rule 68 of the Federal Rules of Civil Procedure, against defendant
24   ESKANOS & ADLER, A PROFESSIONAL CORPORATION.
25         After considering the moving, opposing, and reply papers, the Court
26   GRANTS Plaintiff’s motion for an award of attorney’s fees against defendant
27   ESKANOS & ADLER, A PROFESSIONAL CORPORATION (Defendant),
28   pursuant to its Rule 68 offer.
                                               -1-
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 1         The Court finds that Plaintiff has incurred $20,351.41 in attorneys fees, as
 2   follows: (1) for Robert Stempler, 8.2 hours at $350 per hour (a total of $2,870.00)
 3   (Stempler Decl. ¶¶ 28-30, Ex. 1); (2) for Alexander B. Trueblood, 34.90 hours at
 4   $495 per hour (a total of $17,275.50) (Trueblood Decl. ¶ 8, Ex. 1); and (3)
 5   litigation-related expenses, other than court costs submitted on Plaintiff’s Bill of
 6   Costs, of $113 paid by Mr. Stempler’s office (Stempler Decl. ¶ 31, Ex. 2) and
 7   $92.91 paid by Mr. Trueblood’s office (Trueblood Decl. ¶ 9, Ex. 2).
 8         Based on the experience of Plaintiff’s counsel, as detailed in the declarations
 9   in support of Mr. Stempler and Mr. Trueblood, and the prevailing market rate for
10   attorneys having a specific practice of law, within Southern California, as indicated
11   by the declarations in support of Martin W. Anderson, Mr. Stempler, and Mr.
12   Trueblood, the Court finds that $350 is a reasonable hourly rate for Mr. Stempler
13   and that $495 is a reasonable hourly rate for Mr. Trueblood. The Court notes that
14   other judges, including other District Court Judges within the Central District of
15   California, have also approved these hourly rates.
16         The Court also finds that the time allocated by Mr. Stempler and Mr.
17   Trueblood was reasonable for Plaintiff’s ligation with this Defendant.
18
19   IT IS SO ORDERED.
20
21   Dated: April 29, 2008
                                             OTIS D. WRIGHT II
22                                           United States District Judge
23
24
25
26
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28

                                              -2-
Exhibit
  F
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      SACV 10-1695 AG (RNBx)                              Date   October 3, 2011
   Title         RAMIRO HERNANDEZ v. ERIN CAPITAL MANAGEMENT, LLC, et
                 al.




   Present: The                ANDREW J. GUILFORD
   Honorable
             Lisa Bredahl                             Not Present
             Deputy Clerk                      Court Reporter / Recorder           Tape No.
           Attorneys Present for Plaintiffs:               Attorneys Present for Defendants:


   Proceedings:             [IN CHAMBERS] ORDER GRANTING PLAINTIFF’S
                            MOTION FOR ATTORNEY FEES

  Plaintiff and Defendants have agreed to settle this Fair Debt Practices Act Case
  (“FDCPA”) case for $6,500 dollars plus reasonable attorney fees and costs. But the
  parties have been unable to reach an agreement on what constitutes reasonable attorney
  fees and costs. Plaintiff now files a Motion for Attorney Fees (“Motion”) with this Court,
  asking it to uphold its lodestar calculation, along with supplemental fees for litigating this
  Motion. Defendants argue that Plaintiff’s counsel’s hourly rate is reasonable, but the
  number of hours Plaintiff’s counsel spent on this relatively small matter is not.

  After considering all of the papers filed, this Court now GRANTS Plaintiff’s Motion in
  the amount of $23,822.93, and additional fees associated with this Motion in the amount
  of $4,500. The total amount awarded is $28,322.93.

  BACKGROUND

  Plaintiff sued Defendants for fraudulent debt collection under the FDCPA. Plaintiff’s
  allegations are as follows. Defendants sued Plaintiff in New York on a debt not owed.
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                         CENTRAL DISTRICT OF CALIFORNIA


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  Plaintiff was a California resident who never lived in New York. Defendants unlawfully
  obtained a default judgment against Plaintiff in New York, told Plaintiff that the judgment
  had been domesticated in California, and then threatened to contact his employer and
  garnish his wages if Plaintiff did not pay the fraudulent debt.

  Based on those facts, Plaintiff brought this FDCPA suit against Defendants. Plaintiff
  alleges that Defendants have a practice of threatening consumers with similar out of state
  default judgments.

  After some litigation, including limited discovery, parties settled the pending case for
  $6,500 plus reasonable attorney fees and costs. This amount is composed of $2,000 in
  maximum combined statutory damages and $4,500 in actual damages. Counsel was
  unable to agree on reasonable attorney fees and costs. Plaintiff now brings this Motion
  asking the Court to award its fees and costs.

  LEGAL STANDARD

  The FDCPA allows successful parties to recover “the costs of the action, together with a
  reasonable attorney’s fee as determined by the court . . .” 15 U.S.C. § 1692(k)(a)(3).
  “Given the structure of [§ 1692(k)(a)(3),] attorney fees should not be construed as a
  special or discretionary remedy; rather the Act mandates an award of attorney fees as a
  means of fulfilling Congress’s intent that the Act should be enforced by debtors acting as
  private attorneys general.” Savage v. NIC, Inc., No. 2:08-cv-01780-PHX-JAT, 2010 WL
  2347028, at *2 (D. Ariz. 2010) (quoting Graziano v. Harrison, 950 F. 2d 107, 113 (3d Cir.
  1991); see also Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008)
  (finding that the reason for this fee-shifting provision is “to encourage private
  enforcement of the law.”)

  The Court engages in a two-step analysis to calculate attorney fee awards under the
  FDCPA. First, the Court calculates the “lodestar figure” by “taking the number of hours

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                            CENTRAL DISTRICT OF CALIFORNIA


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  reasonably expended on the litigation and multiplying by a reasonable hourly rate.”
  Fischer v. SJB-P.D. Inc., 214 F.3d 1115, 1119 (9th Cir. 2000). Once calculated, there is a
  “strong presumption” that the lodestar figure is reasonable, and therefore, “should only be
  enhanced or reduced in rare and exceptional cases.” Fisher, 214 F.3d at 1119 n.4 (citing
  Pennsylvania v. Delaware Valley Citizens’ Counsel for Clean Air, 478 U.S. 546, 565
  (1986)) (internal quotations omitted).

  Second, the Court decides whether “to enhance or reduce the lodestar figure based on an
  evaluation of the Kerr factors that are not already subsumed in the initial lodestar
  calculation.” Fischer, 214 F.3d at 1119. Six of the Kerr factors are relevant for the Court
  to consider in addition to the lodestar calculation: (1) time limitations imposed by the
  client or the circumstances, (2) the amount involved and the results obtained, (3) the
  experience, reputation, and ability of the attorneys, (4) the ‘undesirability’ of the case, (5)
  the nature and length of the professional relationship with the client, and (6) awards in
  similar cases. See Kerr v. Screen Guild Extras, Inc., 526 F.2d 67, 70 (9th Cir. 1975), cert.
  denied, 425 U.S. 951 (1976) (listing the twelve factors); see also Morales v. City of San
  Rafael, 96 F.3d 359, 364 n.9 (9th Cir. 1996) (finding that five of the factors have been
  subsumed in the lodestar calculation); Davis v. City & County of San Francisco, 976 F.2d
  1536, 1549 (9th Cir. 1992), vacated in part on other grounds, 984 F.2d 345 (9th Cir.
  1993) (stating that a sixth factor is irrelevant in evaluating attorney fees).

  Out of these factors, the Supreme Court has found that “the most critical factor is the
  degree of success obtained.” Hensley v. Eckerhart, 461 U.S. 424, 436 (1983). “Success must
  be measured not only in the amount of the recovery but also in terms of the principle
  established and the harm checked.” Zagorski v. Midwest Billing Serv., Inc. 128 F.3d 1164,
  1166 (7th Cir. 1997); Morales v. City of San Rafael, 96 F.3d 359, 363 (9th Cir. 1996)
  (“[S]uccess may be measured by ‘the significance of the legal issues on which the plaintiff
  claims to have prevailed’ and the ‘public purpose’ the plaintiff's litigation served.”) (quoting
  Farrar v. Hobby, 506 U.S. 103, 117 (1992).

  ANALYSIS
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  Plaintiff is entitled to fees under the FDCPA because he was successful in this action,
  recovering both $2,000 in maximum combined statutory damages and $4,500 in actual
  damages. Also, Plaintiff and Defendants agreed that their settlement would include
  Plaintiff’s reasonable attorney fees and costs. The Court will now determine what
  constitutes reasonable fees and costs in this case.

  1.       LODESTAR ANALYSIS

  Plaintiff’s counsel calculate that their total bill is $23,822.93, not including supplemental
  fees associated with this Motion (“Motion Fees”). Counsel reaches this calculation by
  multiplying the hourly rate for its attorneys ($225 - $350) and paralegals ($80), by the
  number of hours spent working on this case (73.50). This figure does not include time
  spent on this Motion. The Court will examine each factor to determine its
  reasonableness.

           1.1   Reasonable Hourly Rate

  Defendants do not contest the reasonableness of the hourly rate. The Court also finds that
  Plaintiff’s counsel’s hourly rate was reasonable.

           1.2   Reasonable Number of Hours Expended

  Defendants argue that the number of hours Plaintiff’s counsel expended on this matter is
  not reasonable.

  Plaintiff’s counsel assert that this case required them to perform the following tasks: fact
  gathering, including extensive phone and email conversation with their client; research
  regarding other litigation against Defendants alleging unlawful out of state post-judgment
  collection; preparation of the complaint, which included individualized, non-boilerplate
  allegations; preparation of discovery; meetings with opposing counsel regarding
  settlement and discovery; and numerous phone calls between co-counsel in New York
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  and California regarding the facts of this case.

  Counsel for Defendants argues that Plaintiff spent too much time drafting the complaint
  (7.9 hours); communicating between counsel (14 hours); responding to discovery (8.9
  hours); propounding discovery (9.8 hours); and preparing settlement documents (4 hours).

  Plaintiff’s counsel claim that they spent a reasonable amount of time on those tasks given
  the facts of this case. First, this was not a simple, run of the mill FDCPA case, but
  involved multiple jurisdictions and a past pattern and practice of similar false debts. This
  meant that Plaintiff’s counsel had to do jurisdictional research, consult attorneys in both
  New York and California, and look into other cases involving the Defendant.

  Second, Defendants did not immediately admit liability. Although Defendants contest
  this point, Plaintiff convincingly offers evidence of past communications where Plaintiff
  warned Defendants that their reluctance to settle would increase the fees. (Reply, 12:20-
  24, Ex. G., p. 2.) Defendants “cannot litigate tenaciously and then be heard to complain
  about the time necessarily spent by plaintiff in response.” Copeland v. Marshall, 641
  F.2d 880, 904 (D.C. Cir. 1980) (en banc) (citing Wolf v. Frank, 555 F.2d 1213, 1217 (5th
  Cir. 1977) (“Obviously, the more stubborn the opposition the more time would be
  required” by opposing counsel).

  As for Defendants’ other concerns, Plaintiff painstakingly addresses each one and
  convinces this Court that overall the number of hours Plaintiff billed is a reasonable
  lodestar figure.



           1.3   Costs

  There is insufficient evidence to support an award of costs.

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           1.4   Conclusion

  This Court concludes that Plaintiff’s lodestar figure of $23,822.93 is reasonable. The
  Court declines to separately award costs.

  2.       RELEVANT KERR FACTORS

  The Court will now decide whether any of the other Kerr factors justifies adjusting the
  lodestar figure down. For this case, the relevant Kerr factors are the awards in similar
  cases and the success obtained, considering the purpose of the FDCPA statue and its
  importance to the public. The Court has considered the other Kerr factors, but finds that
  they do not impact the Court’s decision.

           2.1   Awards in Other Cases

  Both parties present various cases in support of their assertion that the court should shift
  the fees up or down. Compare Savino v. Computer Credit, Inc., 71 F. Supp. 2d 173
  (E.D.N.Y. 1999) (reducing 187 hours to 20 hours on a simple $500 FDCPA case
  involving a single legal issue, resulting in a $3,675 award of fees, plus $675 for the fee
  motion), with Savage v. NIC, Inc., No. 2:08-cv-01780-PHX-JAT, 2010 WL 2347028, at
  *2-6 (D. Ariz. 2010) (awarding the full $17,442.30 in fees on a $2,000 FDCPA
  settlement). The Savino court–ironically, the case relied upon by Defendants–decided
  that the fees should be 870% of the total award, while the Savage court found that the fees
  could be 872% of the award. This case is less than either award, as Plaintiff is only
  seeking fees that are roughly 366% of the settlement amount. It thus appears that even
  Defendants’ case, Savino, supports a full award of damages.


  The Court also notes that unlike Savino, this is not a simple, single issue FDCPA case.
  To adequately litigate this case, counsel for Plaintiff had to investigate Defendants’ other
  cases and do interstate research into the effect of default judgements across borders.
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  Thus, this case would justify a larger award even if it were outside the general range
  awarded by other courts.


           2.2   Success Obtained


  Plaintiff obtained not only statutory damages, but also double that amount in actual
  damages. But the best measure of success in an FDCPA case is the greater service to the
  public. Morales, 96 F.3d at 363 (“[S]uccess may be measured by ‘the significance of the
  legal issues on which the plaintiff claims to have prevailed’ and the ‘public purpose’ the
  plaintiff's litigation served.”) (quoting Farrar, 506 U.S. at 117). Congress specifically
  included a fee-shifting provision in the FDCPA to encourage attorneys to bring these
  cases. See Savage, 2010 WL 2347028, at *3. Congress wanted attorneys to litigate
  FDCPA cases because, although the individual damages might be small, “FDCPA
  plaintiffs ‘seek[ ] to vindicate important rights that cannot be valued solely in monetary
  terms.’” Id. (citing City of Riverside, 477 U.S. at 562).


  In this case, the Court finds that the full award of the lodestar figure is appropriate given
  the importance of the FDCPA, and the public impact of this particular case. This case
  involved Defendants who allegedly had a practice, spanning at least two states, of using
  this country’s court systems to defraud consumers. By succeeding on the merits,
  Plaintiffs benefitted other members of the public who might have otherwise fallen victim
  to this scheme if left unchecked. The public has a strong interest in ensuring that
  attorneys invest the necessary time to stop such practices. The success in this case, both
  in terms of damages and public impact, supports a full award of the lodestar figure.


           2.3   Conclusion


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  The Kerr factors support a full award of the lodestar figure.


  3. MOTION FEES


  Plaintiff also asks the Court for additional attorney fees for bringing this Motion. The
  Court notes that Plaintiff originally offered to give Defendants a 20% reduction of fees to
  avoid bringing this Motion. (Reply 18:12-25.) Defendants refused.


  Defendants should have accepted this quite reasonable offer. “At this point, the Court is
  reminded of Justice Brennan’s observation in Hensley, that repetitive post-decision
  litigation solely over the amount of attorney fees awarded is ‘one of the least socially
  productive types of litigation imaginable.’” Savino, 71 F. Supp. 2d at 178 (quoting
  Hensley, 461 U.S. at 442) (concurring in part)). The Court now rejects Defendant’s
  request that the Court implement the 20% reduction, and awards Plaintiff’s Motion Fees.
  Taking into account counsel’s billing rate and the amount of work involved, the Court
  finds that $4,500 is a reasonable amount of attorney fees for bringing this Motion.


  DISPOSITION


  The Court GRANTS Plaintiff’s Motion, and awards $23,822.93 in attorney fees to date,
  and additional Motion fees in the amount of $4,500. The total amount awarded is
  $28,322.93.


                                                                                     :      0


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             al.

                                            Initials of
                                            Preparer             lmb




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